Case 0:20-cv-61776-WPD Document 8 Entered on FLSD Docket 09/14/2020 Page 1 of 1


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


 ANDRES GOMEZ,
         Plaintiff                                   Case Number: 0:20-cv-61776-WPD


 MATTROB, INC.,
        Defendant
 ________________________________/
                         NOTICE OF DISMISSAL WITH PREJUDICE

        Plaintiff, pursuant to FRCP 41(a)(1)(A)(i) hereby gives this Honorable Court notice of

 dismissal of this action with prejudice.


                                                           Respectfully submitted,



 Dated: September 14, 2020                        /s/ Alberto R. Leal.
                                                    Alberto R. Leal
                                                    Florida Bar No.: 1002345
                                                    E-Mail: al@thelealfirm.com
                                                    The Leal Law Firm, P.A.
